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 6                             UNITED STATES DISTRICT COURT
 7                            EASTERN DISTRICT OF WASHINGTON
 8
       UNITED STATES OF AMERICA,       )
 9                                     )   NO. CR-05-2075-EFS-6
                      Plaintiff,       )
10          v.                         )   ORDER ON ARRAIGNMENT
                                       )   ON SUPERSEDING INDICTMENT
11                                     )   AND ORDER MODIFYING
       ERICA L. CUEVAS-CEBALLOS,       )   CONDITIONS OF RELEASE
12                                     )
                      Defendant.       )
13                                     )
           This matter coming on for arraignment on superseding
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      indictment the 22nd day of July, 2005, the government represented
15
      by Jane Kirk, Esq., the defendant present and represented by
16
      retained counsel Rolando Adame, Esq.
17
            The defendant was advised of her rights and acknowledged that
18
      she understood those rights. The defendant acknowledged receipt of
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      a copy of the superseding indictment, and waived reading of the
20
      same in open court, and further acknowledged she understood the
21
      charges filed against her and the maximum penalties that could be
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      imposed.    Defendant signed an acknowledgment of rights.
23
            A plea of not guilty was entered by the Court.
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            The defendant moved for a modification of conditions of
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      release and requested release on a $10,000 cash bond.
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            The government initially objected to defendant’s request, but
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      during argument withdrew its objection.
28
      ORDER ON ARRAIGNMENT ON SUPERSEDING
      INDICTMENT AND ORDER MODIFYING
      CONDITIONS OF RELEASE - 1
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 1          The Court granted defendant’s motion for modification of
 2    conditions of release.
 3          IT IS ORDERED that the Defendant on her plea of not guilty,
 4    is bound over for trial before a District Court Judge.
 5          IT IS FURTHER ORDERED that defendant’s release is subject to
 6    the following conditions:
 7          1.    The previously imposed conditions shall remain in full
 8    force and effect.
 9          2.    The $10,000 property bond previously ordered is
10    converted to a $10,000 cash bond.
11          DATED this 22nd day of July, 2005.
12
                                                     S/Michael W. Leavitt
13                                                United States Magistrate Judge
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      ORDER ON ARRAIGNMENT ON SUPERSEDING
      INDICTMENT AND ORDER MODIFYING
      CONDITIONS OF RELEASE - 2
